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EXHIBIT 7
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Attorneys for Defendants

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING

BCB CHEYENNE LLC d/b/a BISON

BLOCKCHAIN, a Wyoming limited liability

company,
Plaintiff,
v.

MINEONE WYOMING DATA CENTER
LLC, a Delaware limited liability company;
MINEONE PARTNERS LLC, a Delaware

limited liability company; TERRA CRYPTO
INC., a Delaware corporation; BIT ORIGIN,

LTD, a Cayman Island Company;
SONICHASH LLC, a Delaware limited
liability company; BITMAN

TECHNOLOGIES HOLDING COMPANY, a

Cayman Island Company; BITMAN

TECHNOLOGIES GEORGIA LIMITED, a
Georgia corporation; and JOHN DOES 1-18,
related persons and companies who control or

direct some or all of the named Defendants.

Defendants.

Nw ee Nene Nee ee Nee me ee Nine nme meet” nme” Mee Neer ee Nicer!” Nee Semet” “Seer” Nene” gre” See”

Civil Action No. 23CV-79-SWS
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DEFENDANTS MINEONE WYOMING DATA CENTER LLC, MINEONE PARTNERS
LLC, AND TERRA CRYPTO INC.’s RULE 26(A)(1) AMENDED INITIAL
DISCLOSURES

Defendants MineOne Wyoming Data Center LLC, MineOne Partners LLC, and Terra

Crypto Inc. (collectively, “Defendants”) by and through undersigned counsel hereby make the
following amended initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1). The following
disclosures are made based on the information now reasonably available to Defendants, and
without waiving any objections as to relevance, materiality, or admissibility of evidence in the

action. Defendants reserve their right to supplement or amend these disclosures pursuant to Fed.

R. Civ. P. 26(a)(1).

(i) The name and, if known, the address and telephone number of each
individual likely to have discoverable information—along with the subjects of
that information—that the disclosing party may use to support its claims or
defenses, unless the use would be solely for impeachment:

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‘Name _ a Contact Information General Subjects 7
Jiaming Li May be contacted through | Defendants’ business and
undersigned counsel. corporate organization;

Erick Rengifo May be contacted through
undersigned counsel.

| representations made by, and

negotiations with, Plaintiff;

selection, development and

construction of North Range
and Campstool mining sites;
the Development, Hosting &
Service Agreement (“DHS
Agreement”) and other
agreements between
Defendants and Plaintiff, and
the parties’ performance
thereunder; agreements with
third parties related to the
North Range and Campstool
mining sites, and the parties’
performance thereunder;
selection and retention of
Shermco and CEGEN;
negotiations with Black Hills
Energy; payments made to
Plaintiff.

Defendants’ business and
corporate organization;
representations made by, and
negotiations with, Plaintiff;
selection of North Range and
Campstool mining sites; the
DHS Agreement and other
agreements between
Defendants and Plaintiff, and
the parties’ performance
thereunder; agreements with
third parties related to the
North Range and Campstoo!
mining sites, and the parties’
performance thereunder;
selection and retention of
Shermco and CEGEN.

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Haku Du May be contacted through | Development and
undersigned counsel. construction of North Range
and Campstool mining sites;
negotiations with Black Hills
Energy; payments made to
Plaintiff.

| Huaili Zhang JWJ Technology LLC Development and
614 N DuPont Hwy, Suite210 | construction of North Range

| Dover, Delaware 19901 and Campstool mining sites.
Michael Murphy Plaintiff's business;

representations made to, and
negotiations with,
Defendants; Murphy’s and
Plaintiff's experience in the
crypto and Bitcoin fields;
Plaintiffs relationships with
Black Hills Energy, Shermco
and CEGEN; negotiations
with Black Hills Energy;
development and construction
of North Range and
Campstool mining _ sites;
Plaintiff's performance under
the DHS Agreement;
employees hired by Plaintiff
for North Range and
Campstool mining _ sites;
payments made by
Defendants to Plaintiff.

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Emory Patterson IV

Plaintiff's business;
representations made to, and
negotiations with,

Defendants; Patterson’s and
Plaintiff's experience in the
crypto and Bitcoin fields;
Plaintiff's relationships with
Black Hills Energy, Shermco
and CEGEN; negotiations
with Black Hills Energy;
development and construction
of North Range and
Campstool mining _ sites;
Plaintiff's performance under
the DHS Agreement;
employees hired by Plaintiff
for North Range and
Campstool mining _ sites;
payments made by
Defendants to Plaintiff.

Neil Phippen

Plaintiff's business;
representations made to, and
negotiations with,
Defendants; Phippen’s and
Plaintiff's experience in the
crypto and Bitcoin fields;
Plaintiff's relationships with
Black Hills Energy, Shermco
and CEGEN; negotiations
with Black Hills Energy;
development and construction
of North Range and
Campstool mining _ sites;
Plaintiff's performance under
the DHS Agreement;
employees hired by Plaintiff
for North Range and
Campstool mining _ sites;
payments made by
Defendants to Plaintiff.

Bryce Fincham

Investment in Plaintiff;
Plaintiff’s business.

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Steven Randall

Sean Murphy

Resume and work history;
work performed in connection
with the North Range and

Campstool mining _ sites;
communications with
Defendants’ officers or
employees.

Resume and work history;
work performed in connection
with the North Range and
Campstool mining sites.

Patrick Murphy of Williams, | 159 N. Wolcott St. Suite 400 | Legal advice rendered to
Porter, Day & Neville P.C. (82601) Defendants

P.O. Box 10700

Casper, WY 82602

307-265-0700
Ryan Ford of Williams, | 159 N. Wolcott St. Suite 400 | Legal advice rendered to
Porter, Day & Neville P.C. (82601) Defendants

P.O. Box 10700
Casper, WY 82602

307-265-0700

Representative(s) of CEGEN

10447 50th Street SE,
Calgary, Alberta, Canada

T2C 33

Relationship with Plaintiff or
its members; contract between
CEGEN and  MineOne
Wyoming Data Center and
CEGEN’s performance or
failure to perform thereunder;
materials and/or equipment
ordered for use Campstoo] and
North Range mining sites.

Representative(s) of Shermco

6551 S Revere Parkway, -

Ste 275

Centennial, CO 80111

Relationship with Plaintiff or
its members; contract between
Shermco and MineOne
Wyoming Data Center and
Shermco’s performance or
failure to perform thereunder;
development and construction
of Campstool and North
Range mining sites.

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Representative(s) of Black
Hills Energy and/or Cheyenne
Light, Fuel and Power
Company

1301 West 24th Street,
Cheyenne, Wyoming 82001

Negotiations and relationship
with Plaintiff; delays in
development and construction
of Campstool and North
Range mining sites; delays in
development and construction
of Black Hills Energy
facilities intended to service
Campstool and North Range
mining sites; _ electricity
demands of Campstool and
North Range mining sites and
ability to deliver sufficient
electrical power.

Member(s) of BCB Ventures
LLC

BCB Ventures LLC’s
members and investment in
Plaintiff.

James Quid

Mr. Quid’s citizenship and
domicile; Bayview Capital
Investments, LLC’s members
and investment in Plaintiff.

Tim Desrochers

Mr. Desrochers’ citizenship
and domicile; CMV Global,
LLC’s members and
investment in Plaintiff.

Any Entity or Party Listed on
Plaintiff's Corporate
Disclosures Statements

Plaintiff's compliance with its

obligation under various
contracts and local laws and
regulations; information

regarding the allegations in
Plaintiffs First Amended
Complaint and Defendant’s
Amended Counterclaims,
including (without limitation),
Defendants’ alter-ego claims.

Defendants incorporate by reference any other individuals disclosed by other parties in this

matter.

Defendants anticipate that other, unknown individuals may have discoverable information

that Defendants may use to support their defenses and reserve the right to supplement this

disclosure pursuant to Federal Rule of Civil Procedure 26(e).

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(ii) A copy-or a description by category and location—of all documents,
electronically stored information, and tangible things that the disclosing party
has in its possession, custody, or control and may use to support its claims or
defenses, unless the use would be solely for impeachment:

To the best of Defendants’ knowledge, the following discoverable documents, things,
and/or electronically stored information within its possession, custody, or control may be used to

support their claims:

1, Contracts related to the development, construction and operation of the North
Range and Campstool mining sites.

2. Communications between Plaintiff and Defendants.
3. Communications concerning Plaintiff.
4, Communications concerning the development and construction of the North Range

and Campstool mining sites.

Discovery is ongoing in this matter, and Defendants reserve the right to supplement these

categories as additional information becomes available or is made known through discovery.

(iii) A computation of each category of damages claimed by the disclosing party—
who must also make available for inspection and copying as under Rule 34 the
documents or other evidentiary material, unless privileged or protected from
disclosure, on which each computation is based, including materials bearing
on the nature and extent of injuries suffered:

Defendants (and each of them), through their Amended Counterclaims', seek to recover
monetary damages from the Plaintiff in an amount that will reasonably and fairly compensate them
for the damage caused by Plaintiff, including but not limited to, economic losses, diminution of

goodwill/business reputation, loss of profits, financial penalties and damages in an amount to be

’ As Defendants recently advised the Court, Defendants currently anticipate making a motion to amend their
counterclaims to include additional claims and to revise the damage amounts sought contained in the current
Amended Counterclaims to conform with the damages set forth herein.

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proven at trial and in excess of the jurisdictional amount of this Court. These calculations are
determined by Defendants’ current and past business endeavors and represent the foreseeable
expectation and monetary damages stemming from Plaintiff's actions. Defendants further request
that they be awarded statutory interest from the date their causes of action accrued, pre- and post-
judgment interest, court costs, other expenses, attorneys’ fees and costs as allowed by law, punitive
and exemplary damages as allowed by law, and for such other relief as the Court may deem just
and proper.

Including and in addition to the monetary damages above, Defendants have suffered the
following specific damages due to the willful, grossly negligent, and improper actions of Plaintiff

as reflected in the claims and allegations made in their Amended Counterclaims as follows:

Initial Construction Costs $29,500,000
Budget Overruns $5,805,714
Damages Due to Delays $5,733,304
Financial Penalty Damages $200,000
Bridge Loan Damages $5,842,800
Lost Business Opportunities/Monetary $60,773,328
Damages

Reputational Harm and Tort Monetary $10,000,000
Damages

Total $117,855,146

The damages suffered are based, in part, on the fact that Plaintiff, as Project Manager for
Defendants’ Facilities and operations at the North Range and Campstool facilities, among other
things, breached contracts, failed to obtain the necessary permit(s) and approval(s) for construction
of the Facilities in violation of (among other sections) Section 6.2 of the DHS Agreement, and that
Plaintiff intentionally and maliciously, without justification, sought to and did harm Defendants.

In addition, Plaintiff breached other provisions of the DHS Agreement, resulting in a total loss of

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the construction costs in excess of $29,500,000, and other continuing damages.

Further, Plaintiff failed and refused to adhere to approved budgets and timelines for the
project and did not efficiently and effectively manage the various vendors and suppliers as it was
required to do. Defendants incurred significant, but avoidable, and intentional, cost overruns and
additional expenses as a result of Plaintiffs failures and improper conduct, including the selection
of vendors and suppliers who provided sub-standard work that had to be remediated. The projected
budget from Plaintiffs to build out the facilities was approximately $18,819,067, but Defendants
have been required to spend over $24,624,782, resulting in cost overruns of $5,805,714.

Plaintiff's failures led to a delayed opening of the North Range and Campstool facilities
from Plaintiff's agreed and required start date of October 2022. As a result, Defendants lost
significant operational time with their miners, resulting in self-mining losses, hosting revenue
losses, and penalties they were required to pay as a result of Plaintiff's failures. These losses
amount to a $200,000 penalty payment and mining and hosting losses of approximately
$5,733,304.

Plaintiff's delays, improper conduct, and breaches caused Defendants to have to convert a
bridge loan into an unattractive lease arrangement. Due to Plaintiffs breaches and failures, it took
Defendants at least an additional ten (10) months to get the facilities online and productive. Timely
repayment of the bridge loan would have cost Defendants only $5,532,200; instead, Defendants
are now required to pay annual lease payments of $2,275,000 over the next five years, resulting in
a monetary loss of at least $5,842,800.

Plaintiff's intentional smear campaign and negative propaganda to competitors, vendors,
the media, and to Wyoming governmental authorities and legislators has caused Defendants grave

damages, including economic losses in excess of $60,773,328. Plaintiff's malicious smear

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campaign has directly damaged Defendants’ business projects and activities outside of the
Wyoming facilities and operations, damaging Defendants’ reputation and business opportunities
and prospects in excess of $10,000,000.

Including and in addition to the various categories of damages above, Defendant Terra
Crypto Inc. has suffered the following specific monetary damages due to the actions of Plaintiff

and its principals as reflected in the claims and allegations made in the Amended Counterclaims

as follows:
Breach of Consulting Service Agreement $5,350,400
Additional Economic Damages $3,656,960
Total $9,007,360

As a result of Plaintiff's breach of the Consulting Service Agreement and other improper
conduct, the property value has been diminished and Defendant Terra Crypto has lost the expected
value of the subject contract, which is in excess of $5,350,400. Additionally, Terra Crypto has
suffered economic losses caused by the various delays in energizing the North Range and
Campstool facilities and the resulting lost operational mining time, in the amount of at least
$3,656,960.

The above are all appropriate and necessary damages based on Plaintiff’s egregious and
improper conduct under the claims asserted and to be asserted in Defendants’ Amended
Counterclaims.

In addition, Defendants are entitled to the following fees and costs, as set forth in the

parties’ DHS:

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Expert Fees and Investigation Costs $450,000
Prevailing Party Attorneys’ Fees and Costs $12,500,000
| Total — $12,950,000.00

These damages are in addition to the above-listed statutory interest from the date
Defendants’ causes of action accrued, pre- and post-judgment interest, court costs, punitive and
exemplary damages as allowed by law, and for such other relief as the Court may deem just and
proper.

Discovery is still ongoing and Defendants reserve the right to continue to supplement
their damages as the case progresses, especially considering that the damages continue to
increase as time progresses.

(iv) For inspection and copying as under Rule 34, any insurance agreement

under which an insurance business may be liable to satisfy all or part of a
possible judgment in the action or to indemnify or reimburse for payments
made to satisfy the judgment.

Defendants are not aware of any insurance agreements applicable to this proceeding.

Defendants reserve the right to supplement these Amended Initial Disclosures as

necessary.

DATED this 14th day of February, 2024.
HATHAWAY & KUNZ, LLP

By: /s/ Sean Larson

Sean Larson, Esq.

Kari Hartman, Esq.

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Cheyenne, WY 82003
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DEFENDANTS’ AMENDED RULE 26(A)(1) INITIAL DISCLOSURES
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Attorneys for Defendants

DEFENDANTS’ AMENDED RULE 26(A)(1) INITIAL DISCLOSURES
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CERTIFICATE OF SERVICE

This is to certify that on the 14th day of February, 2024, the undersigned served a true and
correct copy of the foregoing as follows:

Patrick J. Murphy

Scott C. Murray

Williams, Porter, Day & Neville, P.C.
159 N. Wolcott., Suite 400

Casper, WY 82601

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William Pao, Pro Hac Vice
O'Melveny & Myers

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Los Angeles, CA 90071-2899

Khale J. Lenhart

Tyson R. Woodford

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1720 Carey Ave. Room 400
P.O. BOX 1083

Cheyenne, WY 82003

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smurray@wpdn.net

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x

/s/ Alex Inman

DEFENDANTS’ AMENDED RULE 26(A)(1) INITIAL DISCLOSURES

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